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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      )
                                              )
               v.                             )       2:19cr252
                                              )       Electronic Filing
EDWARD T. STEVENSON                           )

                                   MEMORANDUM ORDER

       AND NOW, this 20th day of July, 2022, upon due consideration of defendant's objection

to the imposition of any costs associated with supervision, IT IS ORDERED that [59] the

objection be, and the same hereby is, overruled.

       Defendant's position is grounded on a faulty premise – to wit: that his ability to pay will

remain fixed and bleak. But the costs of electronic monitoring, should they become appropriate

and warranted, will be imposed in the future. Of course, the court retains the ability to oversee

and adjust any payment schedule that is imposed and the court's overview as to any such cost is

no greater than its ongoing overview of any term of probation or supervised release imposed as

part of the court's sentence. Consequently, at this juncture it would be premature to foreclose the

potential that defendant might be able to bear some portion of the cost of any condition of

supervision that is imposed as an alternative to incarceration.


                                                      s/David Stewart Cercone
                                                      David Stewart Cercone
                                                      Senior United States District Judge


cc:    Carolyn J. Bloch, AUSA
       Sarah E. Levin, AFPD

       (Via CM/ECF Electronic Mail)
